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                                    No. 23-705

                  UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT

                 In re: Santa Fe Natural Tobacco Company
         Marketing and Sales Practices & Products Liability Litigation

                On Petition For Permission To Appeal From
       The United States District Court For The District Of New Mexico
                   No. 1:16-md-2695-JB-LF (MDL No. 2695)
                     (The Honorable James O. Browning)

             DEFENDANTS’ RESPONSE TO PLAINTIFFS’
          RULE 23(f) PETITION FOR PERMISSION TO APPEAL

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                                 INTRODUCTION

    Plaintiffs’ petition confirms that the decision below warrants interlocutory

 review, particularly regarding a critical recurring issue that Defendants similarly

 raise in their own 23(f) petition: How a need for individualized litigation over

 whether each claimant actually has a claim affects whether to certify a class. As

 both sides recognize, due to the absence of precedent from this Court, the district

 court had to “predict[]” (Dkt. 394 at 253 n.65 (“Order”)) how this Court would

 factor the thousands of individual inquiries that would be required in these cases

 into the Rule 23 analysis. Both sides—and the court below—also recognize that

 this issue has divided district courts within this Circuit, just as it has divided

 courts of appeals. There is a plain need for this Court to clarify the proper ap-

 proach to this important issue in class actions. That alone is sufficient reason for

 granting review.

    There is also a need for review on a second recurring class-action question

 raised in both sides’ petitions: What is required for plaintiffs’ damages model to

 fit their theory of liability in a consumer-fraud case, as mandated by Comcast

 Corp. v. Behrend, 569 U.S. 27 (2013)? Comcast requires plaintiffs seeking class cer-

 tification to show that their damages model will isolate “only those damages

 attributable to th[eir] theory” of liability. Id. at 35. Where Plaintiffs claim a rep-

 resentation was misleading in a specific way, Defendants contend that Plaintiffs’



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 model must isolate the price premium that resulted from consumers being mis-

 led in that respect. Plaintiffs, by contrast, claim their model need not isolate those

 damages, and may include price premiums resulting from concededly truthful

 meanings of the challenged representation. And the district court, for its part,

 required isolation of the damages from Plaintiffs’ theory of falsity for one of

 Plaintiffs’ two theories, but not the other. This case thus presents three conflict-

 ing views of what Comcast requires in a consumer-fraud class action, and high-

 lights another recurring question on which this Court has not established a rule.

    The Court’s resolution of these questions would undoubtedly be “significant

 to the case at hand,” as the outcome would have been different had the district

 court decided either question differently. See Vallario v. Vandehey, 554 F.3d 1259,

 1263 (10th Cir. 2009). And given that these issues have arisen in a number of

 class actions, the Court’s decision would also be “significant … to class action

 cases generally.” Id. The Court should therefore grant both parties’ petitions.

                                   ARGUMENT

 I. Plaintiffs’ petition confirms that review is required to resolve how the
    need for extensive individualized inquiries to establish who has a claim
    affects class certification.

    A. All parties agree that this Court should grant review to address how indi-

 vidualized questions regarding whether particular claimants actually have

 claims—i.e., whether they are members of the class—factor into the Rule 23


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 analysis. Pls.’ Pet. at 14-18; Defs.’ Pet. at 12-19, Santa Fe Natural Tobacco Co. v.

 Dunn, No. 23-706 (10th Cir. Sept. 15, 2023). This issue is often addressed as one

 of “ascertainability,” but its relevance under Rule 23 goes well beyond whether

 the class as a whole is ascertainable. In a consumer class action, whether any

 given claimant actually bought the product is a fundamental element of his or

 her cause of action. If answering that question will require a large number of

 individual mini-trials, the predominance and superiority requirements of Rule

 23(b)(3) are directly implicated—separate and apart from any question of

 whether the class is ascertainable.

     Plaintiffs, like Defendants, recognize that without Tenth Circuit precedent,

 the district court had to “predict” how this Court would factor the need for in-

 dividualized inquiries into who actually has a claim into the class-certification

 determination—just as other district courts in this Circuit have had to do when

 confronting this question. Order at 243-46, 253 n.65; Pls.’ Pet. at 14-16; Defs.’

 Pet. at 12-14 & n.4. Some district courts in this Circuit have held that, as a pre-

 requisite for certification, there must be an “administratively feasible” means of

 identifying class members.1 Others have predicted that this Court would “reject[]


 1
  See, e.g., Cole v. ASARCO Inc., 256 F.R.D. 690, 696 (N.D. Okla. 2009) (denying
 certification where “identification of members of the proposed class [of property
 owners] would be administratively unfeasible,” due to limitations in property
 records); Cline v. Sunoco, Inc. (R&M), 333 F.R.D. 676, 688 (E.D. Okla. 2019);
 Lavigne v. First Community Bancshares, Inc., 2018 WL 2694457, at *7 (D.N.M.

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 a strict standard requiring an administratively feasible mechanism for identify-

 ing class members,” and would instead hold that a class is sufficiently ascertain-

 able so long as the class definition is “based on objective criteria.”2 And in the

 decision below, the district court charted a third course, predicting that this

 Court would “weigh administrative feasibility,” but would “not view [it] as a pre-

 requisite the failure of which dooms a proposed class.” Order at 252-53. These

 divergent approaches present precisely the sort of “unresolved issue of law relat-

 ing to class actions,” with significance both to “the case at hand” and “to class

 action cases generally,” for which Rule 23(f) exists. Vallario, 554 F.3d at 1263.

     The broader division over this issue among other courts of appeals, which

 Plaintiffs acknowledge (Pls.’ Pet. at 16) and which the district court explored at

 length (Order at 238-42), further underscores the need for this Court to establish

 the rule in this Circuit. As Defendants explained, the Circuits have taken multi-

 ple conflicting positions regarding how an inability to establish who has a claim

 through common proof affects the class-certification analysis. Defs.’ Pet. at 14-




 June 5, 2018); Abraham v. WPX Prod. Productions, LLC, 317 F.R.D. 169, 254
 (D.N.M. 2016); cf. Smith v. LifeVantage Corp., 341 F.R.D. 82, 94 (D. Utah 2022)
 (concluding that the administrative feasibility of identifying class members is
 “relevant to and addressed by the predominance and superiority requirements”).
 2
  In re EpiPen Mktg., Sales Practices & Antitrust Litig., 2020 WL 1180550, at *11-
 12, *60 (D. Kan. Mar. 10, 2020); see also In re: Syngenta AG MIR 162 Corn Litig.,
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 16. Plaintiffs claim they are asking this Court to follow “the majority of the Cir-

 cuits” in holding that the need for individualized determinations of class mem-

 bership cannot even “tilt against” a finding of predominance. Pls.’ Pet. at 7, 14,

 16. But that is wrong. As Defendants have shown, some Circuits have held that

 there is an absolute requirement that class members be identifiable through “ad-

 ministratively feasible” means;3 others have not imposed an absolute require-

 ment but recognize that the need for individualized inquiries into class member-

 ship is relevant to whether common issues predominate;4 and even the minority

 of courts that treat ascertainability as solely a case-management concern—as the

 district court did below—recognize that it is relevant to the Rule 23(b)(3) supe-

 riority inquiry.5 This case gives the Court the opportunity to clarify the law in

 this Circuit.




 3
  See, e.g., In re Niaspan Antitrust Litig., 67 F.4th 118, 133 (3d Cir. 2023); Krakauer
 v. Dish Network, L.L.C., 925 F.3d 643, 658 (4th Cir. 2019) (citation omitted)); cf.
 In re Nexium Antitrust Litig., 777 F.3d 9, 19-21 (1st Cir. 2015).
 4
  See, e.g., Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d
 460, 473-74 (6th Cir. 2017); In re Petrobras Sec., 862 F.3d 250, 268 (2d Cir. 2017).
 5
  See, e.g., Cherry v. Dometic Corp., 986 F.3d 1296, 1303 (11th Cir. 2021) (“To be
 sure, administrative feasibility has relevance for Rule 23(b)(3) classes, in the light
 of the manageability criterion of Rule 23(b)(3)(D).”); Briseno v. ConAgra Foods,
 Inc., 844 F.3d 1121, 1128 (9th Cir. 2017) (class membership inquiries should be
 viewed “as one component of the superiority inquiry”); Mullins v. Direct Digital,
 LLC, 795 F.3d 654, 663–64 (7th Cir. 2015) (same).

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    B. Plaintiffs’ invitation to the Court to make itself an outlier on this issue

 should be rejected, as their position cannot be squared with Rule 23’s text or

 purpose. Plaintiffs contend that the need for thousands of individual determina-

 tions of a fundamental element of each claimant’s cause of action—whether he

 or she actually bought the product at issue—should be excluded entirely from

 the Rule 23(b)(3) predominance analysis. In their view, the need for such indi-

 vidualized mini-trials cannot even “tilt against a finding that common questions

 predominate.” Pls.’ Pet. at 7; see also id. at 14.

    As Defendants’ petition explained, that position is at odds with Rule 23.

 Defs.’ Pet. at 16-19. Nothing justifies making class-membership inquiries an ex-

 ception to Rule 23(b)(3)’s express prerequisite for class certification: that “ques-

 tions of law or fact common to class members predominate over any questions

 affecting only individual members.” Individual inquiries into class membership,

 like any other individual inquiries, necessarily bear on whether or not common

 issues predominate. Here, for instance, determining whether each claimant ac-

 tually purchased Natural American Spirit (“NAS”) cigarettes, in one of the rel-

 evant states and during the relevant period, is a necessary part of adjudicating

 the class members’ claims. Where, as here, class membership can be assessed

 only through thousands of individualized litigations, nothing in Rule 23 pre-

 vents a court from concluding that “individualized issues will overwhelm [any]


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 questions common to the class,” such that predominance is “destroyed.” Wallace

 B. Roderick Revocable Living Tr. v. XTO Energy, Inc., 725 F.3d 1213, 1220 (10th

 Cir. 2013).

    C. Plaintiffs, contrary to the assertions of their petition, have identified no

 way of resolving the threshold issue of class membership that would avoid thou-

 sands of separate determinations and allow common issues to predominate.

 Plaintiffs claim there is a “comprehensive database of class member infor-

 mation.” Pls.’ Pet. at 17. But it was established below that the database in ques-

 tion does not remotely resemble that description, but instead merely contains

 information on the subset of consumers who choose to contact Santa Fe Natural

 Tobacco Co. (“SFNTC”)—and even as to those, it collects only self-reported

 information on brand use and brand preference. Dkt. 315 at 28. The database

 does not attempt to track or verify purchases. Its inability to identify class mem-

 bers is underscored by the fact that nine of the thirteen named Plaintiffs either

 are not even in the database or have profiles that do not self-report NAS as a

 brand they ever used or preferred. Id. at 28-29.

    Plaintiffs also suggest that class members can be identified using “proof of

 purchases[] [and] receipts.” Pls.’ Pet. at 5. But there is no record evidence that

 consumers retain any such purchase records for any portion of the class period—




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 let alone for the full period, which ended in 2017 and goes as far back as 2009.

 Order at 257-58.

    Plaintiffs are thus left arguing that class members can simply submit self-serv-

 ing affidavits as part of a post-certification claims-administration process. Pls.’

 Pet. at 17. But such affidavits would not eliminate the need for thousands of

 mini-trials unless the affidavits were made irrebuttable. And any such “proof by

 affidavit” would be irreconcilable with the Supreme Court’s decision in Wal-

 Mart Stores, Inc. v. Dukes, which makes clear that class members must prove the

 elements of their claims just as if they were in individual litigation: a “class can-

 not be certified on the premise that [the defendant] will not be entitled to litigate

 its statutory defenses to individual claims.” 564 U.S. 338, 367 (2011). Forcing

 Defendants to simply accept thousands of affidavits, without being able to test

 each claimant’s assertions through the normal adversarial process, would violate

 this rule. See also, e.g., Carrera v. Bayer Corp., 727 F.3d 300, 307 (3d Cir. 2013) (“A

 defendant in a class action has a due process right to raise individual challenges

 and defenses to claims, and a class action cannot be certified in a way that evis-

 cerates this right or masks individual issues.”).

                                     *     *      *

    Defendants agree with Plaintiffs that review is needed so that this Court can

 address how class-membership inquiries factor into the Rule 23 analysis.


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 II. Plaintiffs’ petition confirms that review is needed to address how
     Comcast’s requirements apply in the context of consumer-fraud actions.

    The parties also agree that the Court should grant review to clarify how Com-

 cast applies in a consumer-fraud action based on claimed misrepresentations.

 Comcast held that, for a classwide damages model to “establish that damages are

 susceptible of measurement across the entire class for purposes of Rule 23(b)(3),”

 the model “must measure only those damages attributable to [the operative] the-

 ory” of liability. 569 U.S. at 35 (emphasis added). The parties’ dispute here turns

 on how that rule applies in cases involving an allegedly deceptive marketing rep-

 resentation—particularly where the representation conveys multiple meanings

 and is alleged to be false only in one specific way. This Court has not addressed

 that question regarding Comcast’s application.

    The decision below underscores the need for the Court to do so. As Defend-

 ants have explained (Defs.’ Pet. at 9-10), the district court reached conflicting

 conclusions in applying Comcast to Plaintiffs’ two theories:

    Safer-Cigarette Theory. With respect to Plaintiffs’ safer-cigarette theory—

 that the “natural” and “additive-free” descriptors misled consumers into believ-

 ing NAS cigarettes are safer—it is undisputed that these descriptors carry a range

 of meanings that it is entirely permissible for SFNTC to convey. Indeed, Plain-

 tiffs conceded that the descriptors are associated with concepts like “quality and

 wholesomeness,” and “eco-consciousness.” Dkt. 278 at 8, 17; see also id. at 19–

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 20 (“environmentally friendly”); id. at 27 (“wholesome”). Their marketing ex-

 pert similarly testified that the descriptors convey truthful and permissible mes-

 sages regarding quality, taste, and the sustainability of SFNTC’s farming meth-

 ods. Dkt. 362 at 86-87.

    Plaintiffs do not contest that the value consumers place on these concededly

 permissible meanings may contribute to a higher price for the product. Never-

 theless, as the district court recognized, their damages model would treat the

 price value of these permissible meanings as damages, because that model “in-

 corporates all possible values which consumers may associate with the challenged

 labels and which may contribute to Natural American cigarettes’ price premium,

 as opposed to isolating the understandings which the Plaintiffs allege the chal-

 lenged labels cause.” Order at 287 (emphasis added). The court thus concluded

 that the model “may allow for an inflated damage amount depending on the

 value associated with the unchallenged or truthful claims,” and so “is not an

 adequate fit with the Plaintiffs’ Safer-Cigarette liability theory.” Id. at 287, 292.

    Menthol Theory. The district court reached the opposite result with respect

 to Plaintiffs’ menthol theory—the theory that “additive-free natural tobacco” on

 NAS menthol cigarette packages and advertisements misled consumers because

 menthol is an additive. As Defendants have explained, the only proper damages

 under this theory are the difference in value between (a) menthol cigarettes with


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 entirely additive-free tobacco (i.e., no chemical additives, and no menthol mi-

 grates from the filter to the tobacco) and (b) menthol cigarettes that are almost

 entirely additive-free (still no chemical additives, but some natural menthol mi-

 grates from the filter). Defs.’ Pet. at 20-21. But again, Plaintiffs’ damage model

 does not isolate that value, and instead would capture the entire value of the

 “additive-free natural tobacco” descriptor—as if consumers were tricked into

 buying cigarettes that were loaded with chemical additives, when in fact they

 received cigarettes that were free of all additives other than some migrated nat-

 ural menthol. Id. at 21-22.

    The flaw here is thus the same as the flaw with respect to Plaintiffs’ safer-

 cigarette theory: their model would allow Plaintiffs to recover windfall damages

 for harm that they did not suffer. To revisit an analogy from Defendants’ peti-

 tion: If milk marketed as fat-free actually contained 0.1% fat, the measure of

 damages would not be the price difference between fat-free and whole milk, be-

 cause consumers did not receive whole milk; they received milk with a trace

 amount of fat. Instead, damages would be the actual delta between what con-

 sumers were marketed (milk with no fat) and what they received (milk with 0.1%

 fat). The Comcast problem is the same for both theories.

    Nevertheless, the court did not reach the same conclusion it had reached with

 respect to Plaintiffs’ safer-cigarette theory. Instead, it concluded that damages


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 under Plaintiffs’ menthol theory “do not rely on the consumers’ interpretation

 of the label,” and therefore held that their model “is an adequate fit for their

 Menthol Theory” under Comcast. Order at 298-99.

    There are thus three different positions at play: the district court’s, which re-

 quires a narrowly tailored damages model for Plaintiffs’ safer-cigarette theory of

 liability but accepts a broader model for the menthol theory; Defendants’, which

 requires a narrowly tailored model for both theories; and Plaintiffs’, which ac-

 cepts a broader model for both theories. In short, there is considerable confusion

 about how Comcast applies in a consumer-fraud case. And given the frequency

 with which consumer-fraud class actions arise—where the suitability of a dam-

 ages model will often be contested—this is an issue that calls out for the Court’s

 attention. The Court should grant review to provide clarity on this important

 question and establish that, in a consumer-fraud class action, plaintiffs’ damages

 model must isolate the specific value attributable to a supposedly deceptive

 claim.

 III. Plaintiffs’ other arguments—resting on the notion that the district court
      should have disregarded fundamental differences between class
      members—only underscore infirmities in their position.

    Plaintiffs also take issue with aspects of the decision below that Defendants

 did not raise in their own 23(f) petition. Plaintiffs’ arguments are misguided, and

 could be easily dispensed with after this Court grants review.


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    A. Plaintiffs primarily take issue with the district court’s conclusion that, for

 purposes of their safer-cigarette theory, it would be necessary to determine

 whether each consumer saw the disclaimer stating: “No additives in our tobacco

 does NOT mean a safer cigarette.” Pls.’ Pet. at 9-12; Order at 312-14. But that

 holding was correct. Because the disclaimer directly repudiated the inference

 underlying Plaintiffs’ safer-cigarette theory, the district court recognized that

 whether a consumer saw that disclaimer before buying NAS cigarettes neces-

 sarily “affects whether that consumer is entitled to damages.” Order at 312. In

 other words, the liability question a jury would need to answer, in determining

 whether someone was materially misled, would significantly differ—at the very

 least—based on whether or not he or she saw the disclaimer. And Plaintiffs

 themselves acknowledged below that consumers would differ as to whether they

 saw the disclaimer before purchasing. See Dkt. 331 at 17 n.13 (“[T]he ‘additive-

 free’ disclaimer … would not necessarily have been seen by a consumer prior to

 purchase.”). Thus, the only way for a jury to adjudicate Plaintiffs’ claims would

 be through individualized inquiries into this issue.

    Against this, Plaintiffs contend that the district court “manifestly erred” be-

 cause it elsewhere (in one part of its findings of fact) credited their claim that the

 disclaimer did not affect consumer perceptions, supposedly making it “irrelevant

 as a matter of law” “whether a proposed class member viewed the disclaimer


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 prior to purchase.” Pls.’ Pet. at 10-11. Plaintiffs misunderstand the import of the

 district court’s findings. The court did not rule as a matter of law that the dis-

 claimer was ineffective (nor could it have). Although the court recited studies

 put forth by Plaintiffs for the proposition that the disclaimer (and others used in

 connection with other cigarettes) did not offset health misperceptions that some

 consumers might form, the court also restated its own prior holding (from its

 ruling on Defendants’ motion to dismiss) that “reasonable consumers who saw

 the disclaimer would understand that a lack of additives does not make Natural

 American cigarettes healthier.” Order at 313 (emphasis added) (citing Dkt. 146

 at 171-75).

    Notwithstanding Plaintiffs’ studies, a jury would face a different liability

 question for consumers that saw the disclaimer and those that did not: Whether

 a reasonable consumer who saw only the descriptors would read them as mean-

 ing the cigarettes were safer is fundamentally different from the same question

 for consumers who saw the descriptors in conjunction with the statement that

 “No additives in our tobacco does NOT mean a safer cigarette.” The district

 court was thus correct in holding that it would be necessary to individually de-

 termine whether each consumer saw the disclaimer, undermining Plaintiffs’ ar-

 gument that common issues would predominate. Id. at 313-14.




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    B. Plaintiffs also argue that the district court erred by purportedly ruling that,

 for purposes of their safer-cigarette theory, it would be necessary to determine

 “how consumers may have interpreted the Defendants’ deceptive labeling.” Pls.’

 Pet. at 18-19 (citing Order at 312-14). But that misstates the district court’s hold-

 ing, which did not rely on a need to inquire into consumers’ understanding of

 any term as a reason for denying certification of any safer-cigarette class.

    Instead, insofar as the court considered Defendants’ argument “regarding

 whether the proposed class members saw different labels,” it concluded only that

 it would be necessary to know “whether an individual consumer saw a disclaimer

 before purchasing a pack of Natural American cigarettes.” Order at 312 (empha-

 sis added). And the court held that it is this need to determine “whether an indi-

 vidual proposed class member viewed a disclaimer” that “tilts against a finding of

 predominance.” Id. at 319 (emphasis added); see also id. at 335, 342, 347, 358,

 366, 373, 383, 393, 404, 410, 418. As explained immediately above, that conclu-

 sion was correct. Supra at III.A. Plaintiffs’ extended citations regarding the need

 for common issues to predominate (Pls.’ Pet. at 19-22) do nothing to cast doubt

 on that conclusion.

                                  CONCLUSION

    Defendants agree with Plaintiffs that review under Rule 23(f) is warranted.

 The Court should grant both sides’ 23(f) petitions.


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  Dated: September 28, 2023                 Respectfully submitted,


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  Dated: September 28, 2023               /s/ Andrew G. Schultz
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 are represented by counsel of record who are registered CM/ECF users and who

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  Dated: September 28, 2023              /s/ Andrew G. Schultz
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